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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA

                                                  MIAMI DIVISION

                                         CASE NO.: 1:19-mc-20493-UU

   SECURITIES AND EXCHANGE COMMISSION,

           Applicant,

   v.

   CARLA MARIN,

           Respondent.

   ____________________________________________/

                        RESPONDENT’S NOTICE OF FILING OF
                    DOCUMENTS IN OPPOSITION TO THE APPLICATION

           Respondent, CARLA MARIN (Respondent or Marin), by and through the undersigned

   counsel hereby serves this Notice of Filing, providing notice and serving copies to all Parties

   and this Court as to certain documents offered in support of Respondents’ Opposition Response

   [D.E. 13] to the Application for an Order to Show Cause (the “Application”) [D.E. 1], filed by

   the Applicant, the SECURITIES AND EXCHANGE COMMISSION (“SEC”), and offered in

   support of Respondents Jurisdictional Brief [DE 27] and states as follows::

        1. On March 19, 2019, the Parties convened before the Honorable Magistrate John

           O’Sullivan for a hearing on the SEC’s Application.

        2. During the course of that hearing, certain documents were provided to the Court by the

           Respondent, as part of its argument in opposition to the SEC’s Application.


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       3. Notably, during the course of that hearing, this Court reviewed documents and/or

          referred to certain allegations made in the related plenary proceeding, SEC v. Gentile,

          16-CIV-01619 (JLL)(JAD) (a/k/a “Gentile Proceeding”).

       4. Respondent herein provides this Court, as Exhibit F, a copy of the Amended Complaint

          filed by the SEC in that action dated October 6, 2017. See SEC v. Gentile, 16-CIV-

          01619 (JLL)(JAD) at [D.E. 47].

       5. These additional documents are being filed for purposes to clarify the record by

          providing this Court with the operative version of the SEC’s pleading in that case, and

          as further support as to the relation of the instant matter and the Gentile Proceedings in

          New Jersey.


   Dated: April 1, 2019

                                                Respectfully submitted,


                                                By: __/s/ Lorne E. Berkeley_____________
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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 1st day of April 2019, I electronically filed the

   above document using CM/ECF or directed service in the method set forth in the attached

   Service List either via transmission of Notices of Electronic Filing generated by CM/ECF or in

   some other authorized manner for those who are not authorized to receive electronically Notices

   of Electronic Filing.

                                                        /s/ Lorne E. Berkeley___________
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   UNITED STATES DISTRICT COURT
   DISTRICT OF NEW JERSEY
   ----------------------------------------------------------------------- x
   SECURITIES AND EXCHANGE COMMISSION,

                             Plaintiff,                                        16 Civ. 1619 (JLI.)(JAD)

            -against-                                                          AMENDED COMPLAINT

   GUY GENTILE,

                              Defendant.
   ----------------------------------------------------------------------- x

            Plaintiff Securities and Exchange Commission ("Commission"), for its Amended

   Complaint against Defendant Guy Gentile ("Gentile") (who, upon information and belief, resides

   at 79 SW 12th Street, Miami, Florida), alleges:

                                                     SUMMARY

            1.       This case involves two penny stock manipulation schemes perpetrated by Gentile.

   The first scheme was perpetrated in 2007 and involved the stock of Raven Gold Corporation

   ("RVNG"), a purported gold and silver exploration company. The second scheme was

   perpetrated in 2007-2008 and involved the stock of Kentucky USA Energy, Inc. ("KYUS"), a

   company involved in natural gas production. In addition to market manipulation and fraudulent

   promotion, the schemes involved illegal unregistered offerings of the issuers' stocks, and,
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   together, generated over $17 million in illegal gross stock sale proceeds as well as substantial

   profits for the schemes' participants.

          2.      In the RVNG scheme, two penny stock promoters from Toronto, Canada, Mike

   Taxon and Itamar Cohen ("Taxon" and "Cohen," respectively), were hired to promote RUNG

   stock by the persons who controlled the company in exchange for a controlling block of the

   company's purportedly unrestricted shares. Taxon and Cohen then recruited Gentile, the owner

   of abroker-dealer based in upstate New York, to execute key aspects of the promotion in

   exchange for half of their newly-acquired RUNG shares.

           3.     Gentile agreed to the arrangement, and manipulated the market for RVNG stock

   by placing trades and trade orders that created the false appearance of liquidity, market depth,

   and demand for the stock.

           4.     In addition, Gentile, together with Taxon and Cohen, created and distributed a

   glossy promotional "newsletter" touting RVNG stock (the "RUNG Mailer"). The RUNG Mailer

   contained multiple materially false or misleading statements or materially misleading omissions,

   including, among other things, statements or omissions about the promoters' identity,

   compensation, and control of the issuer's stock.

           5.     Finally, to increase the appearance of active market demand for the stock, Gentile,

   Taxon and Cohen bribed friends and acquaintances to make open-market purchases of RUNG by

   handing out free blocks of RVNG stock to them.

           6.     In the KYUS scheme, Gentile was recruited to promote the stock by the

   individuals who contro:led the issuer, and then invited Taxon and Cohen to participate and help

   fiance the scheme, in exchange for a share of the ultimate profits. Gentile used his own funds

   and the funds provided by Taxon and Cohen to obtain control of a substantial block of the



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   company's purportedly unrestricted shares and used proceeds from the illegal unregistered sales

   of the stock to finance the promotion.

          7.      As in the RUNG scheme, Gentile manipulated the market for KYUS stock by

   executing manipulative trades intended to create the false appearance of liquidity and market

   demand, by, among other things, executing matched trades between multiple accounts that he

   controlled. Once again, Gentile, together with Taxon and Cohen, fabricated from whole cloth

   and distributed a fake promotional newsletter, tY~e "KYUS Mailer." Just like the RUNG Mailer,

   the KYUS Mailer contained multiple materially false or misleading statements or materially

   misleading omissions, including, among other things, statements and omissions about the

   promoters' identity, compensation, and control of the issuer's stock.

          8.      Because Gentile obtained RUNG and KYUS stock from the persons controlling

   the issuers, with a view to selling it to the public, Gentile was a statutory underwriter under the

   Securities Act of 1933 ("Securities Act"), and his unregistered sales of the stock violated the

   securities registration requirements of the Securities Act.

          9.      In addition, by engaging in these schemes, Gentile violated the anti-touting and

   anti-fraud provisions of the Securities Act and violated or aided and abetted violations of the

   anti-fraud provisions of the Securities Exchange Act of 1934 ("Exchange Act").

                   NATURE OF THE PROCEEDING AND RELIEF SOUGHT

          10.     The Commission brings this action pursuant to the authority conferred upon it by

   Section 20(b) of the Securities Act, 15 U.S.C. § 77t(b), and Sections 21(d)(1), (5) and (6) of the

   Exchange Act, 15 U.S.C. §§ 78u(d)(1), (5) and (6), seeking a final judgment: (a) permanently

   restraining and enjoining Gentile from engaging in the acts, practices and courses of business

   alleged herein; and (b) permanently prohibiting Gentile from participating in any offering of



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   penny stocx pursuant to Section 20(g) of the Securities Act, 15 U.S.C. § 77t(g}, and Section

   21(d)(6) of the Exchange Act, 15 U.S.C. § 78u(d)(6).

                                   JURISDICTION AND VENUE

          11.     The Court has jurisdiction over this action pursuant to Sections 20(b) and 22(a) of

   the Securities Act, 15 U.S.C. §§ 77t(b) and 77v(a), and Sections 21(d) and 27 of the Exchange

   Act, 15 U.S.C. §§ 78u(d) and 78aa.

          12.     Venue lies in this District pursuant to Section 22(a) of the Securities Act, 15

   U.S.C. § ?7v(a), and Section 27 of the Exchange Act, 15 U.S.C. § 78aa. Some of the acts,

   practices, courses of business and transactions constituting the violations alleged herein occurred

   within the District of New Jersey. For exart~ple, Gentile sold unregistered RUNG and KYUS

   securities and executed manipulative trades in those securities, in part, through broker-dealers

   located in the District of New Jersey,. and using trading systems operated through servers in the

   District of New Jersey.

          13.     Gentile, directly or indirectly, made use of the means or instruments of

   transportation or communication in interstate commerce, or of the mails, or of a facility of a

   nationat securities exchange in connection with the transactions, acts, practices and courses of

   business alleged herein.


                                            DEFENDANT

          14.     Gentile, age 41, resides in Miami, Florida. At the time of the conduct alleged

   herein, Gentile resided in Mahopac, New York. Gentile is the founder and, at the time of the

   conduct alleged herein, was the owner of aCommission-registered broker-dealer, Stock USA

   Execution Services, Inc. (which recently changed its name to Mint Global Markets, Inc.), located

   in Cannel, New York. Gentile continues to be the beneficial owner of that entity, through his
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   control of a trust, Stock USA Trust, that owns the broker-dealer's parent company, Stock USA

   Financial, Inc. Over the years, Gentile has been the principal of multiple securities-related

   businesses in addition to his registered broker-dealer, including, most recently, aBahamas-based

   online brokerage firm, which Gentile opened in 2011. Following the dismissal of parallel

   criminal charges against him, Gentile announced plans to expand that business, increasing staff

   by 60 to 80 employees by year-end 2017, targeting 30 per cent growth, and reactivating "stalled"

   expansion plans. In February 2Q17, Gentile posted an article from the Nassau Guardian to his

   Twitter feed in which he was quoted as predicting that his firm "will be the largest broker dealer

   in [the Bahamas] within six months."

                                               ISSUERS

          15.     RUNG was a Nevada corporation. During the scheme alleged herein, RVNG's

   headquarters were in Vancouver and Penticton, British Columbia, and its common stock was

   quoted on the OTC Bulletin Board ("OTCBB") and was a "penny stock" as that term is defined

   in Section 3(a)(51) of the Exchange Act, 15 U.S.C. ~ 78c(a)(51), and Rule 3a51-1 thereunder, 17

   C.F.R. § 240.3a51-1.

          16.     KYUS was a Delaware corporation headquartered in London, Kentucky. During

   the scheme alleged herein, KYUS represented that it was engaged in shale gas exploration in

   western Kentucky. During the scheme alleged herein, its common stock was quoted on the

   OTCBB and was a "penny stocYc" as that teem is defined in Section 3(a)(51) of the Exchange

   Act, 15 U.S.C. § 78c(a)(51), and Rule 3a51-1 thereunder, 17 C.F.R. § 240.3a51-1.
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                                                FACTS

   I.     THE RUNG SCHEME

          A.      RVNG's Corporate Background

          17.     RUNG was incorporated in Nevada in or about February 2005, under the name

   Riverbank Resources, Inc. In its public filings, the company claimed that it was in the business

   of mineral exploration. In reality, however, the company was a shell created and controlled by a

   British Columbia attorney engaged in the business of creating and selling shed companies.

          18.     In Apri12005, the company conducted two unregistered offerings of a total of

   7.424 million shares of its common stock under Regulation S. The individuals who received the

   stock in the offerings, including the company's purported officers and directors, were nominees

   of the attorney who had created the shell, and not true owners of the stock.

          19.     In or about July 2005, the company filed with the Commission a registration

   statement on Forin SB-2, purporting to register the resale of 3.424 million shares held by

   individuals other than the company's purported officers and directors. The registration statement

   became effective in or about September 2005.

          20.     Sometime between September 2005 and approximately August 2006, a pair of

   penny stock promoters from Canada (the "RVNG Owners") bought the Riverbank Resources

   shell from the attorney who had created it. Subsequently, to effectuate the sale, the original

   nominee shareholders transferred their shares to the RVNG Owners' various designees,

   including, in 2007, Gentile, Taxon and Cohen. These transfers were not directed by the

   shareholders themselves; instead, the individuals who controlled the issuer —first, the attorney

   who had created the shell and then the RUNG Owners —directed all the transfers.
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           21.     In or about August 2006, the company, now controlled by the RUNG Owners,

    changed its naive to Raven Gold Corporation, carried out a 5:1 stock split, and announced a

    change in management. In September 2006, the company announced that it had "decided to

    discontinue" mineral exploration at its British Columbia property. In or about March 2007,

   RUNG carried out a 2:1 split of its common stock.

           22.     As a result of the stock splits in 2006 and 2007, as well as additional restricted

    stock issuances directed by the RUNG Owners during this time period, during the stock

   manipulation scheme alleged below, RUNG had approximately 75 million shares of common

    stock issued and outstanding, of which approximately 34 million shares were traceable to the

    April 2005 Regulation S offerings and purportedly covered by the subsequent resale registration

    statement, the goal of which was to make the shares appear unrestricted.

           23.     In or about March 2007, RUNG common stock began trading on the OTCBB

    under its new symbol, "RUNG."

           24.     During the stock manipulation scheme alleged below, the RVNG Owners had

    complete control of RUNG and its management.

           B.      The RUNG Stock Promotion Deal

           25.     In early 2007, the RVNG Owners met Taxon and Cohen through a common

    acquaintance and proposed that Taxon and Cohen promote RVNG stock. Taxon and Cohen then

    reached out to Gentile and invited him to participate in the "deal."

           26.     In the course of the following few weeks, the RVNG Owners agreed to give

    Taxon and Cohen a large bock of purportedly unrestricted RUNG shares in exchange for a stock

    promotion campaign consisting of a promotional mailing, other advertising, and manipulative

    trading that would create the false impression of liquidity and active interest'in the stock. In



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   turn, T~xon and Cohen agreed that Gentile would help them execute the key aspects of the

   promotion, including the advertising campaign and the manipulative trading, in exchange for a

   portion of Taxon and Cohen's cut of the stock. Gentile, Taxon and Cohen also agreed that they

   would sell a portion of their RUNG stock holdings to finance the upcoming advertising

   campaign.

           27.    To put these plans in motion, between mid-May and mid-June 2007, the RUNG

   Owners directed transfers of eighty percent of RVNG's purportedly unrestricted stock

   (approximately twenty-seven million shares) to accounts controlled by Gentile, Taxon and

   Cohen. Of that amount, approximately twenty million shares, represented Gentile's and Taxon

   and Cohen's compensation, and the remaining, approximately seven million shares, was parked

   in an offshore account under Taxon's control for the duration of the promotion — a term that

   Taxon and Cohen negotiated with the RUNG Owners, to ensure that the RUNG Owners would

   not sell large quantities of RUNG stock behind Gentile, Taxon and Cohen's backs, and thus

   undermine Gentile, Taxon and Cohen's efforts to drive up the stock price and sell shares at a

   high price.

           28.     To obscure their connection to and control of the majority of the purportedly

   unrestricted RVNG stock, Gentile, Taxon and Cohen did not deposit their RUNG stock in U.S.-

   based accounts held in their own names. Instead, the share blocks were deposited in U.S.

   brokerage accounts held in the names of several offshore brokerage firms where Gentile, Taxon

    and Cohen had or controlled accounts.

           C.     Manipulative Trading and Fraudulent Promotion of RVNG Stock

           29.    On receiving their blocks of RVNG shares, Gentile, Taxon and Cohen embarked

    on a promotional campaign for the stock, which consisted of manipulative trading, a pi-otnotional



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    mailer, and advertisements placed in multiple news publications. The RUNG Owners, for their

    part, supported the promotion by ensuring a steady stream of positive company press releases.

                   1.      Manipulative Trading and Kick-Backs

           30.     In June and July 2007, Gentile and Taxon directed manipulative trades in RUNG

    stock. Their RUNG stock trading in June and July 2007 was intended to achieve two primary

    goals. First, Gentile and Taxon sold RUNG stock to generate cash to fund the promotional

    mailing and advertising that would follow in July 2007. Second, Gentile and Taxon traded

    RUNG stock between their various accounts in order to create the false appearance of liquidity

    and active interest in the stock — in substance, an attractive (but fake) price and volume history

    for investors who would be researching the stock after seeing the upcoming promotional mailer

    or advertisements.

           31.     To amplify the false appearance of increased liquidity and market interest in the

    stock, Gentile, Taxon and Cohen reached out to their acquaintances among penny stock traders

    and promoters and offered to provide free blocks of RUNG stock as kick-backs for open market

    purchases of RUNG stock. Some of those offers were accepted. For example, on or about July

    19, 2007 and August 20, 2007, Taxon and Cohen transferred blocks of 5,000 and 25,000 RUNG

    shares, respectively, from one of their offshore accounts to the accounts of one of Gentile's

    acquaintances. That acquaintance bought approximately 101,500 shares of RUNG in the open

    market in June and July of 2007, and sold all of his RUNG shares —those received as a kick-back

    and those bought in the open market — by early September of 2007, making a profit of

    approximately $25,600.




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                   2.      The RUNG Mailer and Media Advertisements

           32.     The centerpiece of the RUNG promotion was the RUNG Maier — an eight-page

   glossy "newsletter" touting RUNG stock that Gentile, Taxon and Cohen distributed in inid-July

   2007 under a fake entity name, "Stock Trend Report."

           33.     The RUNG Mailer contained multiple materially false or misleading statements,

   as Gentile, one of its authors, knew or was reckless in not knowing. For example, the mailer was

   purportedly published by an entity named "Stock Trend Report" and claimed to be a July 2007

   "Special Edition of Premium Members." In reality, Stock Trend Report was an entirely fictional

   name created specifically for the RVNG campaign, with no prior or subsequent "editions."

           34.     Additionally, the RUNG Maiter's cover page claimed that RVNG stock had been

   "seen on" CNBC, Bloomberg, in the Wall Street Journal, the New York Times, and in other

   respected news publications, creating the impression that the stock had been a subject of

   reporting in those publications. In reality, the stock had only been "seen" in those publications in

   paid advertisements placed by Gentile, Taxon and Cohen.

           35.     These misstatements were material because they lent the RVNG Mailer an aura of

   legitimacy and reliability, and helped conceal the fact that it was an advertisement placed on

   behalf of and in coordination with the RUNG Owners.

           36.     The RVNG Mailer also touted the stock's "strong move upward" in "recent

   weeks," which the RVNG Mailer attributed to the company's strong business prospects. A chart

   covering the time period from early May to mid-June of 2007 purportedly showed the stock's

   "remarkable uptrend so far." These statements were materially misleading. The RVNG Mailer

    failed to disclose that a substantial portion of the touted market activity consisted of the trades

   placed by Gentile, Taxon, and those acting in concert with them, which were executed for the



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    very purpose of creating an attractive price and volume history for the stock, not because of

   legitimate, independent market interest.

           37.     The RUNG Mailer's last page contained a warning: "Please note: Due to high

   market demand for RUNG by institutional investors, some brokers inay require you to phone in

    your order." This statement was materially false: No "high market demand for RUNG by

   institutional investors" existed.

           38.     The RVNG Mailer contained afine-print disclaimer that purported to disclose the

    compensation received by the mailer's publisher and the publisher's motivations and intentions

    with respect to the stock. The disclaimer was itself materially false and misleading.

           39.     For example, the disclaimer continued to attribute the RUNG Mailer to "Stock

    Trend Report," a nonexistent entity.

           40.     The disclaimer also stated that the company, RVNG, had "not approved the

    statements made in this opinion." In reality, the RUNG Owners, who controlled the company

    and its management, had seen drafts of the mailer and had signed off on its content.

           41.     On the subject of compensation, share ownership, and intent to sell with respect to

   RVNG stock, the disclaimer stated that Stock Trend Report (called "STR" in the disclaimer)

   "has been compensated by third party shareholders or with cash from the company on behalf of

    one or snore of the companies mentioned in this opinion ...for dissemination of this

    advertisement and other professional services.... STR's affiliates, officers, directors and

    employees may also have bought or may buy the shares discussed in this opinion and inay profit

   in the event of a rise in value."

           42.     These statements were materially false or misleading, as Gentile knew or was

   reckless in not knowing. Stock Trend Report was a nonexistent, fictional enterprise. Moreover,



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   the compensation that Gentile, Taxon and Cohen had received for the "dissemination of this

   advertisement" and other promotional efforts, including the manipulative trading, consisted of

   sixty percent of RVNG's purportedly unrestricted stock —and the mailer itself was financed with

   the proceeds from the sale of that stock. The disclaimer that Stock Trend Report "may have

   bought" or "may buy" RUNG shares was also misleading, as most of Gentile, Taxon and

   Cohen's shares had been received at no cost and had already been partially liquidated to finance

   the promotional campaign.

           43.    In July 2007, Gentile, Taxon and Cohen also placed paid advertisements for

   RUNG in multiple major publications. The advertisements were, in substance, condensed

   versions of the RVNG Mailer and contained many of the same materially false or misleading

   statements, including the attribution of the advertisements to the nonexistent Stock Trend Report,

   the misleading touting of the stock's recent performance, and a disclaimer identical to that in the

   RUNG Mailer.

           44.    Gentile closely collaborated with Taxon and Cohen in the creation and

   distribution of the RUNG Mailer and the RVNG advertising materials. Gentile knew or was

   reckless in not knowing that the RVNG Mailer and the advertisements contained the materially

    false or misleading statements as alleged above.

                  3.      Press Releases

           45.    It was understood among the RUNG Owners and Taxon and Cohen that, for the

   RVNG stock promotion campaign to succeed, the issuer should disclose a string of "positive

    events" during the promotion. Thus, throughout June and July 2007, the RUNG Owners

    supported the stock promotion campaign with a steady stream of RVNG press releases.




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            46.   RUNG issued a total of thirteen press releases during this time period: five in

   June and eight in July. Of those thirteen releases, five announced purported arrivals of new

   officers and directors, and the remaining eight vaguely touted purported developments in

   RVNG's exploration business, such as plans to "commence general exploration at La Currita,

   Mexico, within the next 21 days," the commissioning of a "detailed `Phase 1 Exploration

   Program' at La Currita," receipt of certain initial sample results, and discovery of a "New

   Parallel Mineralized Vein Structure." The RVNG Owners, Gentile, Taxon and Cohen

   coordinated the timing and number of these press releases, and the press releases were intended

   to and did support the ongoing market manipulation scheme conducted by Gentile, Taxon and

   Cohen.

            47.   By taking the steps described above, Gentile, Taxon and Cohen successfully

   manipulated the market for RUNG stock. Until May 31, 2007, RVNG traded at prices not

    exceeding $0.80 per share and with minimal volume, with no trading occurring on many days.

    Starting on May 31, 2007, the daily price and especially the daily volume went up dramatically —

   only to decline as soon as the promotion was complete. The summary chart below demonstrates

    the dramatic manipulative effect of the promotion on the market for RVNG stock.


   Time Period            Average Daily      Daily Closing        Daily Closing       Average Price
                            Volume           Price —Low           Price —High
   Before Promotion           40,372              $0.61               $0.85              $0.72376
   3/6/07 — 5/30/07*
   During Promotion          2,090,667            $0.83               $1.73              $1.32158
   5/31/07 — 7/31/07
    After Promotion           148,833             $0.57               $1.24              $0.89907
    8/1/07 — 12/31/07

     Starting after 2:1 stock split cznd receipt of new symbol RVNG.OB.


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            48.    Because Gentile, Taxon and Cohen obtained RVNG stock from the persons

    controlling the issuer, with a view to selling it to the public, each was a statutory underwriter

    under the Securities Act. I~et no registration statement was filed or in effect with respect to their

    sales of RUNG stock.

            49.    The selling of unregistered RUNG stock by Gentile, Taxon and Cohen generated

    an estimated five million dollars in gross proceeds.


   II.      THE KYUS SCHEME

            A.     KI'US Corporate Background

            50.    KYUS was incorporated in Delaware in or about September 2006, under the name

    Las Rocas Mining Corp. ("Las Rocas"). In its public filings, the company claimed that its

    "principal business plan was to acquire, explore and develop mineral properties and to ultimately

    seek earnings by exploiting the mineral claims." In fact, the company was a shell formed and

    controlled by its purported founder (who was also its sole officer and director) and his relatives

    (together, "KYUS Shell Sellers").

            51.    In March 2007, the company filed with the Commission Form SB-2, a registration

    statement covering a purported public offering of one million common shares, at $0.025 per

    share, for total offering proceeds of $25,000. The registration statement became effective in or

    about June 2007. The one million shares covered by the registration statement were sold in or

    about June 2007 to friends and acquaintances of the KYUS Shell Sellers. These friends and

    acquaintances were mere nominees of the KYUS Shell Sellers, and at all relevant times, the

    KYUS Shell Sellers retained control over the shares.




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           52.     After the purported public offering, the company had three million common

   shares issued and outstanding: two million restricted shares, previously issued to Las Rocas'

    sole officer and director, and one million purportedly unrestricted shares distributed in the June

   2007 offering and controlled by the KYUS Shell Sellers.

           53.     On or about October 15, 2007, as alleged in greater detail below, Adam S.

    Gottbetter, a New York microcap lawyer ("Gottbetter"), arranged the purchase of the Las Rocas

    shell from the KYUS Shell Sellers for $760,000 contributed by Gentile, Taxon, Cohen, and

    Gottbetter's business partner in the KYUS deal, Sam DelPresto.

           54.     Shortly thereafter, on or about October 26, 2007, Las Rocas announced that it had

    changed its name to Kentucky USA Energy, Inc., and that it was in merger discussions with a

   private company called KY USA Energy, Inc. ("KYUS Privco"); the merger ultimately closed

    on May 2, 2008.

           55.     In late November 2007, and pre-merger, the newly renamed KYUS effected a

    12:1 stock split, after which the company had 36 million shares issued and outstanding: 24

    million restricted shares held by its purported founder and 12 million purportedly unrestricted

    shares that, as a result of the shell purchase described in detail below, were controlled by Gentile

    (together with Taxon and Cohen), Gottbetter and DelPresto.

           56.     On or about November 20, 2007, the KYUS common stock began trading on the

    OTCBB under its new symbol, "KYUS."

           B.      The KYUS Stock Promotion Deal

           57.     In the summer of 2007, Gottbetter and DelPresto became acquainted with Gentile

    and invited him to participate in the KYUS "deal." Over the course of multiple meetings and

    conversations, it was agreed that Gentile, working with his partners (Taxon and Cohen), would



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    (1) "build the chart" for the KYUS stock —that is, create seemingly attractive price and volume

   history for the stock by means of manipulative trading; (2) distribute a promotional railer

    touting the stock, including its seemingly favorable price and volume history; and (3) fund the

   promotional mailing with proceeds from selling KYUS stock in the open market. It was further

    agreed that, for the purpose of perpetrating this scheme, Gottbetter would arrange for Gentile to

    obtain control of a substantial block of purportedly unrestricted KYUS stock.

           58.     Gentile, in turn, invited Taxon and Cohen to participate in the "deal." Unlike the

   RVNG Owners, who provided unrestricted RUNG stock to Gentile, Taxon and Cohen at no cost,

    Gottbetter insisted that Gentile and his partners purchase KYUS stock in private transactions for

    $604,000. Taxon and Cohen agreed to split this upfront cost with Gentile and transferred

    $300,000 to Gentile for use in the deal. Gentile then transferred Taxon and Cohen's $300,000

    and an additional $304,000 from his own offshore accounts to Gottbetter as payment for seventy-

    five percent of KYUS's purportedly unrestricted common shares. The remaining twenty-five

   percent of the purportedly unrestricted shares were transferred to Gottbetter and DelPresto.

           59.     As in the RUNG scheme, in the KYUS scheme, Gentile, Taxon and Cohen's

    allocation of the purportedly unrestricted KYUS stock was directed to accounts in the names of

   nominee entities ("Nominee Entities"), rather than to accounts held in their own names. By

    depositing their shares in the Nominee Entities' accounts — in this case, accounts of three

    offshore and one domestic brokerage firms —Gentile, Taxon and Cohen obscured their

    connection to the stock and the upcoming market manipulation.

           C.      Manipulative Trading and Fraudulent Promotion of KYUS Stock

           60.     Similar to the RUNG promotion, the KYUS promotion had two components:

   manipulative trading, which began in November 2007, and a promotional mailer, which Gentile



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   created and distributed in May 2008, shortly after the merger of the KYUS shell with KYUS

   Privco.

             61.   Immediately after receiving their KYUS shares into the Nominee Entities'

   accounts in late 2007, Gentile, Taxon and Cohen began "building the chart" for KYUS stock, in

   preparation for the distribution of the promotional mailer and the ultimate sell-off that they

   executed in May 2008, once the promotion worked to inflate the stock's price. Gentile, Taxon

   and Cohen controlled seventy-five percent of the public float, and on many days between late

   2007' and May 2048, most and sometimes even all of the market activity in the stock was

   generated by accounts that they controlled.

             62.   Among other things, Gentile executed matched trades between the Nominee

   Entities' accounts and accounts in the names of Gentile's friends and family members that

   Gentile controlled. Gentile also asked some of his acquaintances among penny stock traders to

   buy KYUS stock in the open market (essentially, from Gentile), based on the understanding that

   Gentile would be promoting the stock and would give his "buyers" aheads-up about the

   upcoming promotion, enabling them to sell the stock at a high price. At least two of Gentile's

   acquaintances agreed and purchased KYUS stock in the open market in advance of the

   promotion, and then sold it during the promotion at a profit.

             63.   The matched trades and the efforts to "bring in buyers" described above had the

   same twin goals. First, KYUS stock sales generated the cash that Gentile would later use to fund

   the KYUS promotional mailing. Second, through these actions, Gentile was delivering on his

   promise to "build the chart" for the KYUS stock, by creating the false appearance of broad

   market demand and gradually inflating the price.




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           64.     In or about May 2008, shortly after the KYUS merger closed, Gentile distributed

   by mail a glossy promotional mailer touting, KYUS. The promotional mailer took the form of an

    eight-page "newsletter" distributed under the fake name Global Investor Watch. The mailer

    touted KYUS stock's seemingly attractive —but contrived —recent stock price history and

    claimed, falsely, that it had been funded by a $2.4 million payment from a fictional entity called

   Green Century Capital. In fact, Gentile funded the KYUS Mailer with proceeds from selling his,

   Taxon's and Cohen's allotments of KYUS stock.

           65.     Gentile took the lead role in creating and distributing the KYUS Mailer, and he

   knew or was reckless in not knowing that the KYUS Mailer contained materially false or

   misleading statements, including false attribution, as alleged above.

           66.     The manipulation and fraudulent promotion of KYUS stock were successful.

   Between late 2007, when the scheme began, and May 2, 2008, the day of the KYUS merger, the

    stock price rose from $0.69 per share to $1.70 per share. Once the mailer had been disseminated,

    the stock price soared in May 2008, reaching $3.97 on May 23, 2008. The volume also

   increased dramatically. While on all but one day before May 9, 2008, daily trading volume was

   below 100,000 shares, on each day between May 14 and June 2, 2008, the daily volume was over

    one million shares, and it reached a high of over 4.4 million shares on May 23, 2008.

           67.     By the end of May 2008, Gentile, Taxon and Cohen had sold millions of the

   purportedly unrestricted KYUS shares that they had received into the Nominee Entities' accounts

   in late 2007, for estimated gross proceeds of approximately $10 million. They used a portion of

    these proceeds to fund the printing and distribution of the KYUS mailer, and they shared the

   remaining proceeds with the issuer and Gottbetter.
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           68.     Gottbetter and DelPresto, for their part, also sold substantial portions of their

   KYUS stock holdings both during the promotion and thereafter. Gottbetter continued selling

   KYUS stock through November 2010, and DelPresto continued selling KYUS stock at least

    through November 2009. Gottbetter and DelPresto sold their KYUS stock holdings in whole or

   in part through offshore accounts. Gentile had access to and ability to execute trades in at least

    one of those accounts, and he assisted in the execution of some of these subsequent sales of

   KYUS stock.

           69.     Because Gentile, Taxon, Cohen, Gottbetter and DelPresto had obtained KYUS

    stock from the persons controlling the issuer, with a view to selling it to the public, each was a

    statutory underwriter under the Securities Act.

           70.     No registration statement was filed or in effect with respect to the KYUS stock

    sales of Gentile, Taxon, Cohen, Gottbetter, and DelPresto.

   III.    SUBSEQUENT ACTIONS AGAINST GENTILE AND HIS CONFEDERATES IN
           THE RUNG AND KYUS SCHEMES

           71.     On June 25, 2012, the United States Attorney's Office for the District of New

    Jersey ("USAO") filed a sealed complaint against Gentile, charging him with conspiracy to

    commit wire fraud, and alleging his participation in the RUNG and KYUS schemes detailed

    above. Tne FBI arrested Gentile on July 13, 2012. Soon after his arrest, Gentile agreed to

    cooperate with the USAO, and on July 16, 2012, tie Court granted the USAO's application to

    dismiss the sealed complaint without prejudice.

           72.     On March 23, 2016, with Gentile unable to persuade the USAO to drop its

    criminal charges against hiin, and with his cooperation at an end, the Grand Jury returned an

   indictment against Gentile, charging him with various criminal securities law violations arising

    out of his conduct in the manipulation and unlawful distribution of RVNG and KYUS. United


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    States v. Gentile, 16 Cr. 155 (JLL) (D.N.J.). On January 30, 2017, the Court granted Gentile's

   Motion to Dismiss the Indictment on statute of limitations grounds.

           73.     On May 27, 2015, Cohen pled guilty to a one-count information filed by the

    USAO in United States v. Cohen, 15 Cr. 248 (JLL) (D.N.J.), which charged him with conspiring

    to commit securities fraud as a result of his participation in the RUNG and KYUS schemes

    detailed above.

           74.     On May 28, 2015, Taxon pled guilty to a one-count information filed by the

    USAO in United States v. Taxon, 15 Cr. 249 (JLL) (D.N.J.), which charged him with conspiring

    to commit securities fraud as a result of his participation in the RUNG and KYUS schemes

    detailed above.

           75.     Both Taxon and Cohen had been approached by the FBI and USAO in May 2012,

    and agreed to cooperate. Neither has yet been sentenced.

           76.     Gottbetter pled guilty to one count of conspiracy to commit securities fraud and

    mail fraud in United States v. Gottbetter, 14 Cr. 467 (JLL) (D.N.J.), a case arising out of his

    participation in two separate pump-and-dump schemes that he participated in after the KYUS

    scheme. His plea agreement, however, identifies the KYUS scheme as among those other stock

    market manipulation schemes for which Gottbetter would not be charged if Gottbetter entered

    the plea specified in the agreement. Gottbetter was subsequently sentenced to a prison term of

    18 months, one year of supervised release, a $60,000 fine and ordered to forfeit $344,966.55.

           77.        The Commission filed parallel charges against Gottbetter in SEC v. Gottbetter

    al., 15 Civ. 3528 (JLL) (D.N.J.). In addition to the schemes charged by the USAO in its criminal

    case against Gottbetter, the Commission's complaint charged him with violations of the antifraud

    provisions of the Securities Act and the Exchange Act, as well as violations of Securities Act



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    Section 5, arising out of his participation in the KYUS scheme detailed above. Gottbetter

    consented to a Judgment in the Commission's case that permanently enjoined him from future

    violations of the specified securities laws, imposed a penny stock bar, and ordered him to pay

    disgorgement of the ill-gotten gains he obtained, and prejudgment interest, totaling

    approximately $4.6 miltion.

           78.     DelPresto has also been criminally charged by the USAO in United States v.

   DelPresto, 15 Cr. 631 (JLL) (D.N.J.), for his role in schemes other than KYUS. He has entered

   into a plea agreement with the USAO, which, like Gottbetter's, identifies the KYUS scheme as

    among those other stock market manipulation schemes for which he would not be charged if he

    entered the plea specified in the agreement. He has not yet been sentenced in that matter. The

    Commission filed a parallel action against DelPresto, SEC v. DelPresto, et al., 15 Civ. 8656

    (JLL) (D.N.J.), a matter that has been stayed pending resolution of a criminal case filed against

   his co-defendant.

   IV.     GENTILE'S DENIAL OF WRONGDOING, REJECTION OF RESPONSIBILITY
           AND OTHER FACTORS INDICATING THE LIKELIHOOD THAT HE WILL
           COMMIT FUTURE VIOLATIONS OF THE SECURITIES LAWS ABSENT AN
           INJUNCTION

           79.     If not enjoined from future violations of Exchange Act Section 10(b) and

    Securities Act Sections 5(a) and 5(c), and 17(a) and (b), and barred from participating in any

    offering of penny stock, Gentile is likely to engage in further violations of the securities laws.

           80.     Since the dismissal of the parallel criminal charges against him, Gentile has

    consistently and publicly denied any wrongdoing in connection with the allegations asserted

   herein. For example, in an interview with BlooinbergBusinessweek, Gentile claimed he "did

   nothing wrong," as reported in an article detailing the circumstances that led to his arrest in 2012.




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   More recently, he has labeled the Commission's instant action a "witch hunt." On his Instagram

    feed, he declared, "I never scammed anyone!"

            81.    Gentile has not offered any assurance that he will not violate the securities laws in

    the future.

            82.    Gentile maintains an active presence in the securities industry as the beneficial

    owner of aCommission-registered broker-dealer and the CEO of a Bahamas-based online

   brokerage firm. In recent public statements, Gentile has committed to expanding his securities

   industry businesses. Gentile's ongoing involvement in the securities industry will present him

    with daily opportunities to violate the securities laws again.

            83.     At the same time, Gentile has demonstrated contempt for securities regulators and

    the importance of enforcement of the securities laws. For example, when Gentile learned that

    the Commission planned to pursue its action against hiin, Gentile wrote to the Commission staff,

    threatening that if the Commission pressed its claims against him, he would snake sure that the

    staff would not be able to practice law again.

            84.     According to Gentile's public statements, he believed he was closely supervised

   by the FBI from his arrest in 2012 through the filing of the criminal charges against him, calling

   his work with the Government "a 24/7 operation."

            85.    Unwilling to acknowledge his past violations, presented with daily opportunities

    to violate the securities laws, contemptuous of securities regulation, and no longer believing that

   he is being closely supervised by the FBI, Gentile cannot be expected to avoid additional

    violations in the future.

                                    FIRST CLAIM FOR RELIEF
                        Violations of Sections 5(a) and 5(c) of the Securities Act

            86.    Paragraphs 1 through 85 are incorporated by reference as if set forth fully herein.


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           87.    By virtue of the foregoing, Gentile, directly or indirectly, singly or in concert with

   others, made use of the means or instruments of transportation or communication in interstate

   commerce, or of the mails, to offer and sell securities through the use or medium of a prospectus

   or otherwise, or carried or caused to be carried through the mails or in interstate commerce, by

   any means or instruments of transportation, securities for the purpose of sale or for delivery after

   sale, when no registration statement had been filed or was in effect as to such securities and

   when no exemption from registration was applicable.

           88.    By virtue of the foregoing, Gentile violated and, unless restrained and enjoined,

   will continue violating, Sections 5(a) and 5(c) of the Securities Act, 15 U.S.C. §§ 77e(a) & (c).


                                   SECOND CLAIM FOR RELIEF
                            Violations of Section 17(b) of the Securities Act

           89.    Paragraphs 1 through 85 are incorporated by reference as if set forth fully herein.

           90.    By virtue of the foregoing, Gentile, by the use of means or instruments of

   transportation or communication in interstate commerce, or of the mails, published, gave

   publicity to, or circulated notices, circulars, advertisements, newspaper articles, letters,

   investment services, or communications which described securities for consideration received or

   to be received, directly or indirectly, from an issuer, underwriter, or dealer, without fully

   disclosing the receipt, whether past or prospective, of such consideration and the amount thereof.

           91.    By virtue of the foregoing, Gentile violated and, unless restrained and enjoined,

   will continue violating, Section 17(b) of the Securities Act, 15 U.S.C. § 77q(b).

                                    THIRD CLAIM FOR RELIEF
                            Violations of Section 17(a) of the Securities Act

           92.    Paragraphs 1 through 85 are incorporated by reference as if set forth fully herein.




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           93.    By virtue of the foregoing, Gentile, directly or indirectly, singly or in concert with

   ethers, by use of the means or instruments of transportation or communication in interstate

   commerce, or of the mails, in the offer or sale of securities: (1) with scienter, employed devices,

   schemes, or artifices to defraud; (2) obtained money or property by means of untrue statements

   of material fact or omissions to state material facts necessary in order to make the statements

   made, in light of the circumstances under which they were made, not misleading; and (3)

   engaged in transactions, practices, or courses of business which operated or would operate as a

   fraud or deceit upon the purchasers.

           94.    By virtue of the foregoing, Gentile violated and, unless restrained and enjoined,

   will continue violating, Section 17(a) of the Securities Act, 15 U.S.C. § 77q(a).

                                 FOURTH CLAIM FOR RELIEF
            Violations of Section 10(b) of the Exchange Act and Rule lOb-5 Thereunder

           95.    Paragraphs 1 through 85 are incorporated by reference as if set forth fully herein.

           96.    By virtue of the foregoing, Gentile, directly or indirectly, singly or in concert with

   others, in connection with the purchase or sale of a security, with scienter, used the means or

   instrumentalities of interstate commerce, or of the mails, or of a facility of a national securities

   exchange: (1) to employ devices, schemes, or artifices to defraud; (2) to make untrue statements

   of a material fact or to omit to state material facts necessary in order to make the statements

   made, in the light of the circumstances under which they were made, not misleading; and (3) to

   engage in acts, practices, or courses of business which operated or would operate as a fraud or

   deceit upon others.

           97.    By virtue of the foregoing, Gentile violated and, unless restrained and enjoined,

   will continue violating, Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule lOb-5

   thereunder, 17 C.F.R. § 240.1Ob-5.


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                                    FIFTH CLAIM FOR RELIEF
                           Aiding and Abetting Violations of Section 10(b)
                           of the Exchange Act and Rule lOb-5 Thereunder

           98.     Paragraphs 1 through 85 are incorporated by reference as if set forth fully herein.

           99.     By virtue of the foregoing, Gentile, directly or indirectly, provided knowing and

   substantial assistance to persons who, directly or indirectly, singly or in concert with others, in

    connection with the purchase or sale of a security, with scienter, used the means or

   instrumentalities of interstate commerce, or of the mails, or of a facility of a national securities

    exchange: (1) to employ devices, schemes, or artifices to defraud; (2) to make untrue statements

   of a material fact or to omit to state material facts necessary in order to make the statements

   made, in the light of the circumstances under which they were made, not misleading; and (3) to

    engage in acts, practices, or courses of business which operated or would operate as a fraud or

   deceit upon others.

           100.    By virtue of the foregoing, Gentile aided and abetted and, unless restrained and

    enjoined, will continue aiding and abetting, violations of Section 10(b) of the Exchange Act, 15

   U.S.C. § 78j(b), and Rule lOb-5 thereunder, 17 C.F.R. §§ 240.1Ob-5, in violation of Section

   20(e) of the Exchange Act, 15 U.S.C. § 78t(e).

                                        PRAYER FOR RELIEF

           WHEREFORE, the Coininission respectfully requests that the Court enter a Final

   Judgment:

                                                     I.

           Permanently restraining and enjoining Gentile, his agents, servants, employees, attorneys

    and other persons in active concert or participation with hiin who receive actual notice of the

   injunction by personal service or otherwise, from violating Sections 5(a), 5(c), 17(a) and 17(b) of



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    the Securities Act, 15 U.S.C. §§ 77e(a), 77e(c), 77q(a) and 77q(b), and Section 10(b) of the

    Exchange Act, 15 U.S.C. § 78j(b), and Rule lOb-5 thereunder, 17 C.F.R. § 240.1Ob-5.

                                                    II.

            Permanently prohibiting Gentile from participating in any offering of penny stock

    pursuant to Section 20(g) of the Securities Act, 15 U.S.C. § 77t(g), and Section 21(c~)(6) of the

    Exchange Act, 15 U.S.C. § 78u(d)(6).

                                                    III.

            Granting such other and further relief as this Court deems just and appropriate.


    Dated: October 6 , 2017
           New York, New York

                                                  SECU       ES ND~~HANGE COMMISSION


                                                         Andrew M. Calamari
                                                         Regional Director
                                                  SECURITIES AND EXCHANGE COMMISSION
                                                  Brookfield Place, 200 Vesey Street
                                                  New York, New York 10281-1022
                                                  (212) 336-1023 (Brown)
                                                  Attorney for Plaintiff

    (lf ('rnineal
    Lara S. Mehraban
    Thomas P. Smith, Jr.
    Nancy A. Brown
    Simona K. Suh




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Case 1:19-mc-20493-UU
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                                      47 Filed       Docket
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                           LOCAL CIVIL RULE 11.2 CERTIFICATION

           Pursuant to Local Civil Rule 11.2,I certify that the matter in controversy alleged against

   Defendant Gentile in the foregoing Complaint is not the subject of any other civil action against

    Gentile pending in any court, or of any pending arbitration or administrative proceeding.

           A related civil case involving the Commission's claims against Adam S. Gottbetter

    arising out of the KYUS scheme (SEC v. Gottbetter, et al., 15-CV-3528 (JLL)) was filed in this

    Court in 2015 but is now closed.

           A related civil case involving the Commission's claims against Mike Taxon and Itamar

    Cohen arising out of the RVNG and KYUS schemes (SEC v. Taxon, et al.; 15-CV-3587 (JLL))

    is pending before the Court and is currently stayed pending the resolution of the parallel criminal

    cases (United States v. Taxon, 15-CR- 0249 (JLL), and United States v. Cohen, 15-CR-0248

    (JLL)), which are also pending before this Court.

                                                  SECURITIES A D EXCHANGE COMMISSION


                                                 By:
                                                                Andrew M. Calamari
                                                                Regional Director
                                                 SECURITIES AND EXCHANGE COMMISSION
                                                 Brookfield Place, 200 Vesey Street
                                                 New York, New York 10281-1022
                                                 (212) 336-1023 (Brown)
                                                 Attorney for Plaintiff


   Of Counsel:
   Lara S. Mehraban
   Thomas P. Smith, Jr.
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                 DESIGNATION PURSUANT TO LOCAL CIVIL RULE 101.1(fl

          Per the requirements of Local Civil Rule 101.1(fl, the undersigned hereby designates the

   United States Attorney for the District of New Jersey to receive service of all notices or papers in

   this action at the following address:

                                 Chief, Civil Division
                                 United States Attorney's Office
                                 District of New Jersey
                                 970 Broad Street, Ste. 700
                                 Newark, New Jersey 07102

                                                 SECURITIES AND EXCHANGE COMMISSION



                                                 By:
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                                                               Regional Director
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                                                 Attorney for Plaintiff


   Of Counsel:
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